
		
OSCN Found Document:REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
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				REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS2024 OK 31Decided: 05/06/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 31, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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RE: Revocation of Credentials of Registered Courtroom Interpreters



ORDER



This Court previously suspended the credentials of several Registered Courtroom Interpreters for failure to comply with the continuing education requirements for calendar year 2023 and/or with the annual credential renewal requirements for 2024. See 2024 OK 16 (SCAD 2024-17, dated March 11, 2024).

Under the applicable rules, a suspended certificate which has not been reinstated on or before April 15 shall be administratively revoked on that date. 20 O.S., Chapter 23, App. II, Rules 18(f) and 20(g). The Oklahoma Board of Examiners of Certified Courtroom Interpreters has advised that the interpreters listed in attached Exhibit A have not reinstated their credential as required by the rules, and the Board has recommended to this Court the revocation of the credential of each of these interpreters.

This Court hereby approves the Board's recommendation of revocation of each of the Registered Courtroom Interpreters named below, and pursuant to the applicable rules such revocation shall be effective May 6, 2024.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 6th day of MAY, 2024.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



Exhibit A

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			Name
			
			
			Reason
			
		
		
			
			Cindy Avila
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Charles Escalante
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Jesus Flores
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Daniela Hernandez
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Gisele Jones
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Cesar Leon
			
			
			2023 Continuing Education
			
		
		
			
			Rosanna Lopez
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Juan Martinez
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Elvira Miramontes
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Valentina Saldana
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Alfredo Sampayo
			
			
			2023 Continuing Education
			
		
		
			
			Cynthia Santiesteban
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
	



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